                                    COURT OF APPEALS
                                 EIGHTH DISTRICT OF TEXAS
                                      EL PASO, TEXAS
                                            §

 IN RE: C&amp;C ROAD CONSTRUCTION,                  §              No. 08-16-00299-CV
 INC.,
                                                §         AN ORIGINAL PROCEEDING
                      Relator.
                                                §                IN MANDAMUS

                                                §

                                             §
                                           ORDER

       The Court has this day considered the Relator’s emergency motion for temporary stay

and concludes the motion should be GRANTED. The Honorable Angie Juarez Barill shall

therefore stay any further proceedings in cause number 2014DCV2963, styled Saab Contractors,

L.P. v. C&amp;C Road Construction, Inc., pending further order of this Court.

       Further, no action will be taken on the Relator’s Petition for Writ of Mandamus pending a

response from the Real Party in Interest. The response from Real Party in Interest is requested to

be filed in this Court on or before December 7, 2016.

       IT IS SO ORDERED this 7th day of November, 2016.

                                                    PER CURIAM

Before McClure, C.J., Rodriguez and Hughes, JJ.
